4:08-cr-03178-RGK-CRZ            Doc # 138   Filed: 09/20/10   Page 1 of 1 - Page ID # 332




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )                   4:08CR3178
                                             )
             v.                              )
                                             )         MEMORANDUM AND ORDER
LATRAIL L. TAYLOR,                           )
                                             )
                    Defendants.              )

      The government has moved to continue the trial currently set for November 1, 2010,
(filing no. 137), due to the unavailability of one of the government’s key witnesses. The
defendant does not oppose the requested continuance. The government’s motion will be
granted.


      IT IS ORDERED:

      1)     The government’s motion to continue, (filing no. 137), is granted.

      2)     The trial of this case is set to commence before the district judge at 9:00 a.m.
             on November 15, 2010 for a duration of five trial days. Jury selection will be
             at the commencement of trial.

      3)     Based upon the showing set forth in the government’s motion, the Court
             further finds that the ends of justice will be served by continuing the trial; and
             that the purposes served by continuing the trial date in this case outweigh the
             interest of the defendant and the public in a speedy trial. Accordingly, the time
             between today’s date and November 15, 2010 shall be excluded for speedy
             trial calculation purposes. 18 U.S.C. § 3161(h)(7).

             September 20, 2010.                  BY THE COURT:

                                                  s/ Cheryl R. Zwart
                                                  United States Magistrate Judge
